
*896OPINION.
Milliken :
Section 277(a) (2) of the Revenue Act of 1924 provides that the amount of income or profits taxes imposed by “ the Revenue Act of 1916, the Revenue Act of 1917, * * * and by any such Act as amended, shall be assessed within five years after the return was filed.” The deficiency letter from which the appeal for the year 1916 was taken, was mailed to the petitioner more than five years after the return was filed on March 27,1917, and the limitation of time within which taxes must be assessed for the year 1916 had expired.
The deficiencies in tax, if any, for the years 1920 and 1921, in the three appeals, should be recomputed in accordance with the stipulations of the parties, as concerns the net income from the copartnership for those years.
Judgment will he entered on 15 days’ notice, under Bule 50.
